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                    Exhibit 2
   Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.33 Filed 03/29/22 Page 2 of 29

                                                                                                                 US010833908B2


( 12) United States Patent                                                               ( 10) Patent No.:                   US 10,833,908 B2
         Li et al.                                                                       (45 ) Date of Patent :                          * Nov . 10 , 2020
(54) CHANNEL PROBING SIGNAL FOR A                                                  ( 58 ) Field of Classification Search
         BROADBAND COMMUNICATION SYSTEM                                                   CPC ..... H04L 12/26 ; HO4L 5/0007 ; H04L 5/0028 ;
                                                                                                                  H04L 25/03834 ; HO4L 27/0008 ; H04L
( 71 ) Applicant: NEO WIRELESS LLC , Wayne, PA                                                                                                     27/0012
                     ( US )                                                                                          (Continued )
(72) Inventors: Xiaodong Li , Kirkland , WA (US );                                 ( 56 )                         References Cited
                     Titus Lo , Bellevue , WA (US ); Kemin                                                U.S. PATENT DOCUMENTS
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                     Huang , Bellevue, WA (US )                                             5,825,807 A 10/1998 Kumar
                                                                                            5,828,650 A * 10/1998 Malkamaki                     HO4L 5/0007
( 73 ) Assignee: NEO WIRELESS LLC , Wayne, PA                                                                                                       370/203
                     (US )                                                                                           ( Continued )
( * ) Notice :       Subject to any disclaimer, the term of this                                      FOREIGN PATENT DOCUMENTS
                     patent is extended or adjusted under 35                       CN                      1407745             4/2003
                     U.S.C. 154 (b ) by 0 days.                                    CN                      1445949            10/2003
                     This patent is subject to a terminal dis                                                        (Continued )
                     claimer.
                                                                                                           OTHER PUBLICATIONS
( 21 ) Appl. No .: 16 /902,740                                                     European Telecommunications Standards Institute, Digital Video
( 22 ) Filed :       Jun . 16 , 2020                                               Broadcasting ( DVB ) ; Framing structure, channel coding and modu
                                                                                   lation for digital terrestrial television, ETSI EN 300 744 V1.5.1
                                                                                   ( Jun . 2004 ) .
(65 )                Prior Publication Data
                                                                                                                     ( Continued )
         US 2020/0313948 A1     Oct. 1 , 2020
                                                                                   Primary Examiner Dmitry Levitan
                                                                                   ( 74 ) Attorney, Agent, or Firm — Volpe Koenig
                 Related U.S. Application Data
                                                                                   (57 )                    ABSTRACT
( 63 ) Continuation of application No. 15 / 953,950 , filed on                     In a broadband wireless communication system , a spread
       Apr. 16 , 2018 , now Pat . No. 10,771,302 , which is a                      spectrum signal is intentionally overlapped with an OFDM
                              (Continued )                                         signal, in a time domain, a frequency domain, or both . The
(51 ) Int. Cl .                                                                    OFDM signal , which inherently has a high spectral effi
         H04L 12/26                 ( 2006.01 )                                    ciency, is used for carrying broadband data or control
         H04L 27/26                 ( 2006.01 )                                    information . The spread spectrum signal, which is designed
                                                                                   to have a high spread gain for overcoming severe interfer
                              ( Continued )                                        ence, is used for facilitating system functions such as initial
( 52 )   U.S. CI .                                                                 random access , channel probing , or short messaging. Meth
         CPC           H04L 27/2626 (2013.01 ) ; H04B 1/707                        ods and techniques are devised to ensure that the mutual
                          ( 2013.01 ) ; H04B 1/711 ( 2013.01 ) ;                   interference between the overlapped signals is minimized to
                              ( Continued )                                                                (Continued )


                                          Multi -Carrier Transmitter Signal Processing                     810



                                          Serial to                                  Parallel     S (1)
                                              Parallel                  cyclic      10 Serial
                                               (S/P )                  prefix



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                                         Spread Spectrum Transmitter Signal Processing
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  Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.34 Filed 03/29/22 Page 3 of 29


                                                       US 10,833,908 B2
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have insignificant impact on either signal and that both                    7,123,934 B1 10/2006 Linebarger et al .
                                                                            7,149,239 B2 12/2006 Hudson
signals are detectable with expected performance by a                       7,161,985 B2 1/2007 Dostert et al .
receiver.                                                                   7,161,987 B2   1/2007 Webster et al .
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                30 Claims , 18 Drawing Sheets                               7,260,054 B2 8/2007 Olszewski
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         Apr. 12 , 2013 , now Pat. No. 8,767,522 , which is a               7,471,667 B2 * 12/2008 Hirsch
         continuation of application No. 13 /347,644 , filed on                                                                   370/312
         Jan. 10 , 2012 , now Pat . No. 8,428,009 , which is a              7,548,506 B2          6/2009 Ma et al .
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     CPC                 H04L 5/0007 ( 2013.01 ) ; H04L 5/0028           2004/0085946 Al          5/2004 Morita et al.
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                  (2013.01 ) ; H04L 5/0016 (2013.01 ) ; H04L             2006/0245409 A1         11/2006 Korpela
              25/0228 (2013.01 ) ; H04L 27/2607 ( 2013.01 ) ;            2008/0304551 A1         12/2008 Li et al .
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( 58 ) Field of Classification Search                                    2011/0299474 A1         12/2011 Li et al.
       USPC          370/241 , 252 , 310 , 328 , 330 , 464 , 532         2012/0106513 Al          5/2012 Li et al.
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 Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.37 Filed 03/29/22 Page 6 of 29


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 Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.38 Filed 03/29/22 Page 7 of 29


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 Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.39 Filed 03/29/22 Page 8 of 29


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 Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.40 Filed 03/29/22 Page 9 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.41 Filed 03/29/22 Page 10 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.42 Filed 03/29/22 Page 11 of 29


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                      MCsignal SSsignal
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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.43 Filed 03/29/22 Page 12 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.44 Filed 03/29/22 Page 13 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.45 Filed 03/29/22 Page 14 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.46 Filed 03/29/22 Page 15 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.47 Filed 03/29/22 Page 16 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.48 Filed 03/29/22 Page 17 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.49 Filed 03/29/22 Page 18 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.50 Filed 03/29/22 Page 19 of 29


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Case 2:22-cv-11402-TGB ECF No. 1-2, PageID.51 Filed 03/29/22 Page 20 of 29


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                      pretingSTELLE
                                                         MS
                                      SS
         1702
                                             SS
                BS                            MC
                                              ;          MS        1704
                                      MC
                                      jina



                                                  MS1
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                                                      Frequncy


                 ???
                 (
                 1




                                                    Time
                                                                     CRinFhersapnqouenslcFy(S)relqcuteinvcty
                                                                                                               8




                     12
                                                      Maxdelays,Esmaxpread        CRinTheasinpomesl
                                               ??
                                      X   4*
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                                                    US 10,833,908 B2
                              1                                                                    2
        CHANNEL PROBING SIGNAL FOR A                                   FIG . 4 illustrates three examples of a subframe structure
    BROADBAND COMMUNICATION SYSTEM                                  in the exemplary OFDM system .
                                                                       FIG . 5 illustrates slot structure of the OFDM system and
           CROSS - REFERENCE TO RELATED                             the overlay system .
                         APPLICATION ( S )                          5    FIG . 6 is an illustration of MC signals overlaid with DSSS
                                                                      signals in the frequency domain where the power level of the
   This application is a continuation of U.S. patent applica          DSSS signal is much lower than that of the MC signal .
tion Ser. No. 15 / 953,950 , filed Apr. 16 , 2018 , which is             FIG . 7 is same as FIG . 6 wherein not all MC subchannels
continuation of U.S. patent application Ser. No. 14 /321,615 , are occupied .
filed Jul . 1 , 2014 , which issued on Apr. 17 , 2018 as U.S. Pat. 10 FIG . 8 illustrates a transmitter structure of MC and DSSS
No. 9,948,488 , which is a continuation application of U.S. overlay system .
patent application Ser. No. 13 / 861,942 , filed Apr. 12 , 2013 ,        FIG . 9 illustrates a receiver structure of MC and DSSS
which issued on Jul. 1 , 2014 as U.S. Pat . No. 8,767,522 , overlay system .
which is a continuation application of U.S. patent applica               FIG . 10 illustrates examples of communications between
tion Ser. No. 13 /347,644 , filed Jan. 10 , 2012, which issued 15 a base station and multiple mobile stations transmitting
on Apr. 23 , 2013 as U.S. Pat. No. 8,428,009 , which is a DSSS and MC signals .
continuation application of U.S. patent application Ser . No.            FIG . 11 illustrates a mobile station sending DSSS signals
12 / 975,226 , filed Dec. 21 , 2010 , which issued on Jan. 10 , to its current serving base station , or other base stations.
2012 as U.S. Pat . No. 8,094,611 , all of which are incorpo              FIG . 12 illustrates using interference cancellation tech
rated herein by reference. U.S. patent application Ser. No. 20 nique to cancel interfering DSSS signal in a composite
12 / 975,226 is a continuation application of U.S. patent signal to obtain a clearer MC signal .
application Ser. No. 10/ 583,229 , filed Aug. 27 , 2008 , which          FIG . 13 illustrates a DSSS signal and a MC signal fully
issued on Jan. 4 , 2011 as U.S. Pat . No. 7,864,725 , which is overlaid or partially overlaid at MC symbol or slot boundary
the National Stage Application of International Application in time domain .
No. PCT/US2005 /003518 , filed Jan. 27 , 2005 , which claims 25 FIG . 14 illustrates a DSSS signal with a high Peak to
the benefit of U.S. Provisional Patent Application No. Average Ratio in frequency domain causing strong interfer
60/ 540,586 , filed on Jan. 30 , 2004 , and of U.S. Provisional ence to certain MC subcarriers.
Patent Application No. 60/ 540,032 , filed on Jan. 29 , 2004 .           FIG . 15 illustrates using spectrum nulls in DSSS signal to
                                                                      protect an MC control subchannel.
                          BACKGROUND                               30    FIG . 16 illustrates spectrum control for DSSS signal using
                                                                      simple sub -sampling method .
   A direct Sequence Spread Spectrum ( DSSS ) system is                  FIG . 17 illustrates examples of communications between
inherently capable of supporting multi - cell and multi -user a base station and multiple mobile stations transmitting both
access applications through the use of orthogonal spreading DSSS and MC signals .
codes . The initial access of the physical channel and fre- 35 FIG . 18 illustrates a typical channel response in the time
quency planning are relatively easier because of interference and frequency domains . By estimating the peaks of a chan
averaging in a DSSS system . It has been widely used in nel response in the time domain , the channel profile in the
some existing wireless networks . However, a DSSS system frequency domain can be obtained .
using orthogonal spreading codes , may suffer severely from
the loss of orthogonally in a broadband environment due to 40                           DETAILED DESCRIPTION
multi -path propagation effects, which results in low spectral
efficiency.                                                              A broadband wireless communication system where both
   In broadband wireless communications, Multi - Carrier the Multi- Carrier (MC ) and direct Sequence Spread Spec
( MC ) technology is drawing more and more attention trum (DSSS ) signals are intentionally overlaid together in
because of its capability. An MC system such as an Orthogo- 45 both time and frequency domains is described . The system
nal Frequency Division Multiplexing ( OFDM) system is takes advantage of both MC and DSSS techniques to miti
capable of supporting broadband applications with higher        gate their weaknesses. The MC signal is used to carry
spectral efficiency. An MC system mitigates the adverse         broadband data signal for its high spectral efficiency, while
effects of multi -path propagation in wireless environments     the DSSS signal is used for special purpose processing , such
by using cyclic prefixes to extend the signal period as the 50 as initial random access , channel probing, and short mes
data is multiplexed on orthogonal sub - carriers. In effect, it saging , in which signal properties such as simplicity , self
converts a frequency selective channel into a number of synchronization, and performance under severe interference
parallel flat fading channels which can be easily equalized are of concern . In the embodiments of this invention both the
with simple one -tap equalizers. The modulator and the MC and the DSSS signals are distinguishable in normal
demodulator can be executed efficiently via the fast Fourier 55 operations and the interference between the overlaid signals
transform (FFT ) with much lower cost . However, MC                    is insufficient to degrade the expected performance of either
systems are vulnerable while operating in multi -user and              signal.
multi- cell environments .                                                Unlike a typical CDMA system where the signals are
                                                                       designed to be orthogonal in the code domain or an OFDM
      BRIEF DESCRIPTION OF THE DRAWINGS                             60 system where the signals are designed to be orthogonal in
                                                                       frequency domain, the embodiments of this invention over
   FIG . 1 illustrates a basic structure of a multi - carrier signal lay the MC signal, which is transmitted without or with very
in the frequency domain , made up of subcarriers.                      low spreading, and the DSSS signal, which is transmitted at
   FIG . 2 illustrates a radio resource being divided into small a power level lower than that of the MC signal.
units in both frequency and time domains .                          65    In accordance with aspects of certain embodiments of this
   FIG . 3 illustrates a frame structure of an exemplary invention , the MC signal is modulated on subcarriers in the
OFDM system .                                                          frequency domain while the DSSS signal is modulated by
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                                 3                                                                             4
the information bits or symbols in the time domain . In some ( time slots ) . The basic structure of an MC signal in the time
cases the information bits modulating the DSSS sequence domain is made up of time slots to support multiple -access.
are always one .
   This invention further provides apparatus and means to                            AN EXEMPLARY MC SYSTEM
implement the mentioned processes and methods in a broad- 5
band wireless multi - access and /or multi - cell network , using        An OFDM system is used in the system as a special case
advanced techniques such as transmit power control, spread of an MC system . The system parameters for the uplink
ing signal design , and iterative cancellation .                      under consideration are listed in Table 1. FIG . 3 illustrates
   The mentioned MC system can be of any special format a frame structure of a suitable OFDM system . In this system ,
such as OFDM or Multi -Carrier Code Division Multiple 10 a 20 ms frame 310 is divided into four 5 ms subframes 312 .
Access ( MC - CDMA) . The presented methods and apparatus One               subframe 312 consists of six time slots 314 and two
                                                                      special periods 316 , which serve transition time from down
can be applied to downlink, uplink, or both , where the link                to uplink and vise versa . The six time slots in one
duplexing technique can be either Time Division Duplexing subframe                can be configured as either uplink or downlink
( TDD ) or Frequency Division Duplexing ( FDD ) .                  15 slots  symmetrically     or asymmetrically.
   Various embodiments of the invention are described to
provide specific details for thorough understanding and in an OFDM system : one examples
                                                                         FIG  . 4 illustrates  three              of a subframe structure
enablement; however, the aspects of the invention may be two asymmetric configurations 414 ,configuration
                                                                                                      symmetric
                                                                                                                       each with differing
                                                                                                                                          412 and
practiced without such details . In some instances , well number of uplink (UL ) and downlink ( DL ) slots . FIG . 5
known structures and functions have not been shown or 20 illustrates a slot structure of an OFDM system and an
described in detail to avoid unnecessarily obscuring the overlay system . One 800 us time slot 510 is comprised of 8
essential matters .                                                   OFDM symbols 512 , which are overlaid by DSSS signals
   Unless the context clearly requires otherwise, throughout 514 in the time domain . Two guard periods GP1 and GP2 are
the description and the claims , the words " comprise," " com         allocated for the DSSS signal 514 .
prising , ” and the like are to be construed in an inclusive 25
sense as opposed to an exclusive or exhaustive sense ; that is                                      TABLE 1
to say, in the sense of “ including , but not limited to . ” Words                            Uplink system parameters
using the singular or plural number also include the plural or
singular number respectively. Additionally, the words                        Data Rate                             2 , 4 , 8 , 16 , 24 Mbps
“ herein ,” “ above," " below ” and words of similar import, 30              Modulation
                                                                             Coding rate
                                                                                                                    QPSK , 16 - QAM
                                                                                                                    1/8 , 1/4 , 1/2 , 3/4
when used in this application, shall refer to this application               IFFT/FFT size                                    1024
as a whole and not to any particular portions of this                        OFDM symbol duration                                  100 us
application. When the claims use the word “ or ” in reference                Guard interval                                     11.11 us
                                                                                  Subcarrier spacing                       9.765625 kHz
to a list of two or more items , that word covers all of the 35                   System sampling rate ( fs)                   11.52 MHz
following interpretations of the word : any of the items in the                   Channel spacing                                 10 MHz
list , all of the items in the list and any combination of the
items in the list .
                                                                               DETAILED DESCRIPTION OF A MC AND DSSS
    MULTI -CARRIER COMMUNICATION SYSTEM                                40                         OVERLAY SYSTEM
   The physical media resource ( e.g. , radio or cable) in a              FIG . 5 illustrates the overlay of the MC and DSSS signals,
multi- carrier communication system can be divided in both where the DSSS signal overlaps with the MC signal in the
the frequency and time domains . This canonical division time domain . The overlaid signal can be aligned at the
provides a high flexibility and fine granularity for resource 45 boundary of MC slot or MC symbol when they are synchro
 sharing                                                               nized ( for example, DSSS signal #k in FIG . 5 ) . It can also
   The basic structure of a multi -carrier signal in the fre be not aligned when they are not synchronized ( for example,
quencydomain is made up of subcarriers. Within a particular DSSS signal #j in FIG . 5 ) . In one embodiment, the DSSS
spectral band or channel, there are a fixed number of signal is placed at the period of cyclic prefix of the OFDM
subcarriers. There are three types of subcarriers:                  50 symbol .
1. Data subcarriers, which contain information data ;                     FIG . 6 is an illustration of MC signals overlaid with DSSS
2. Pilot subcarriers, whose phases and amplitudes are pre signals in the frequency domain where the power level of the
   determined and made known to all receivers and which DSSS                  signal is much lower than that of the MC signal . The
   are employed for assisting system functions such as 55 each other ininthea subchannel
                                                                       subcarriers                      are not necessarily adjacent to
                                                                                           frequency domain . FIG . 7 is similar to FIG .
   estimation of system parameters ; and
3. Silent subcarriers, which have no energy and are used for a6 wherein  scenario
                                                                                   not all MC subchannels are occupied . It illustrates
                                                                                    where some MC subchannels are not energized.
   guard bands and DC carrier.
   FIG . 1 illustrates a basic structure of a multi - carrier signal subcarriers in embodiment
                                                                          In another
                                                                                        the frequency
                                                                                                     , the MC signal is modulated on
                                                                                                        domain while the DSSS signal
in the frequency domain , made up of subcarriers. The data 60 is modulated in either the time                domain or the frequency
subcarriers can be arranged into groups called subchannels domain . In one embodiment the modulation symbol on the
to support scalability and multiple -access. The carriers DSSS sequence is one and the sequence is unmodulated .
forming one subchannel are not necessarily adjacent to each               FIG . 8 illustrates a transmitter structure 800 of an MC and
other. As depicted in FIG . 1 , each user may use part or all DSSS overlay system , wherein the MC signal and DSSS
of the subchannels .                                                65 signal are added together prior to Digital to Analog (D/A)
   FIG . 2 illustrates a radio resource being divided into small conversion 830. In FIG . 8 , the top branch 810 is an OFDM
units in both frequency ( subchannels ) and time domains transmitter and the bottom branch 820 is the spread spec
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                               5                                                                       6
trum transmitter. In the MC transmitter, the S /P buffer             Denoting the received power of the MC signal as Pucand
converts the sequential inputs into parallel outputs, which the received power of the DSSS signal as Pss, the signal to
are in turn inputted to the inverse discrete Fourier transform interference and noise ratio ( SINR) for the MC signal is :
( IDFT ) . The outputs from the IDFT are the time domain                 SINRMC = PM (N + 1 )                                      (3 )
signals, which are converted from parallel to sequential 5
signals after a cyclic prefix is added . Adding the prefix can when the DSSS signal is not present; and is
also be performed after the P/ S conversion. In the spread               SINR'MC = Pud ( N + I + Pss)                              (4)
spectrum transmitter, the DSSS sequence is modulated by when the DSSS signal is present. The system is designed
the information bits or symbols and the modulated signals such that the SINR'MC               , meets the SINR requirement for the
will undergo pulse - shaping filtering so that the signal spec- 10 MC  signal  and     its performance    is not compromised in spite
trum meets specified criteria .
   A digital attenuator ( G1 ) is used for the DSSS signal to of Ininterference        from the overlaid DSSS signal.
                                                                        one embodiment, the DSSS signal is power controlled
adjust its transmitted signal level relative to the MC signal.
The two signals are overlaid in the digital domain before such       On
                                                                        that Pss is well below the noise level, N.
                                                                         the other hand , the SINR for the DSSS signal is
converting to a composite analog signal . A second analog 15
variable gain ( G2 ) is used subsequent to the D / A converter           SINRSS = PSS/ ( N + I + PMC)                              (5 )
830 to further control the power level of the transmitted            Denoting the spreading factor for the DSSS signal as KSF,
signal. When the MC signal is not present, both G1 and G2
will be applied to the DSSS signal to provide sufficient the effective SINR for one symbol after despreading is :
transmission dynamic range. G2 can be realized in multiple 20            SINR'ss = P ss* KSF( N +I + PMC)                          ( 6)
circuit stages .                                                     SINR'ss must be high enough to meet the performance
   FIG . 9 illustrates a receiver structure 900 of an MC and
DSSS overlay system . A composite signal is processed by a requirement
                                                                   conveyed   in
                                                                                  when detecting or decoding the information
                                                                                  the DSSS signal . In one embodiment, KSF is
MC receiver 910 and DSSS receiver 920. At the receiver             chosen to be 1000 , so that the DSSS signal is boosted with
side , after automatic gain control (AGC ) , an Analog - to- 25 30 dB spreading gain after despreading.
Digital (ND ) converter 930 converts the received analog             FIG . 11 illustrates a mobile station 1110 sending DSSS
signal to digital signal. The MC receiver basically performs signals       to its current serving base station or other base
a reverse process of the MC transmitter. The MC synchro stations . The latter case is especially helpful in hand -off
nization circuit carries out the synchronization in both time processes. In this Figure, a mobile station MSK is commu
and frequency for the receiver to function properly. The 30 nicating with a BS , using an MC signal while transmitting a
outputs of the P/ S are information bits or symbols. To detect DSSS signal to BSK
whether a DSSS signal is present, the signal is despread with
a matched filter or a correlator, using the access sequence ,                               POWER CONTROL
check if the correlation peak exceeds a predefined threshold.
The information from the DSSS receiver 920 will then be 35                As discussed above , one design issue is to minimize the
used to decode the mobile station's signature in the case of           power of the DSSS signal to reduce its interference with the
initial random access ; to derive the channel information in           MC data signal . In one embodiment, the initial power setting
the case of channel probing; or to decode the information bit of a mobile station , TMS t (in dBm) , is set based on path
in the case of short messaging .                                       loss , L path ( in dB ) , and the desired received power level at
   In one embodiment a rake receiver is used in the DSSS 40 the base station , PBs_mx_des ( in dBm ),
receiver 920 to improve its performance in a multi - path                     TMS_tx = PBS_rx_des + Lpath - C1 - C2                   (7)
environment. In another embodiment, the MC signal is
processed as if no DSSS signal is present. In yet another                 Ci (in dB ) is set to a proper value so that the SINR of the
embodiment, advanced interference cancellation techniques MC as specified in equation ( 4 ) meets its requirement. C2 in
can be applied to the composite signal to cancel the DSSS 45 dB ) is an adjustment to compensate for the power control
signal from the composite signal thus maintaining almost the inaccuracy. Open loop power control inaccuracy is mainly
same MC performance.                                                   caused by a discrepancy between an estimated path loss by
   The transmitted composite signal for user i can be repre            the mobile station and the actual path loss .
sented by :                                                               In one embodiment, C , is set to 9 dB for MC using QPSK
      sy(t) = G?2 * [ G ;1 * siss(t)++b;* si MC(O) ]          ( 1 ) 50 modulation with 1/2 error control coding or 15 dB for MC
                                                                       using 16 QAM modulation with 1/2 error control coding . C2
where M is ( when there is no MC signal and is 1 when an is set to 10 dB or 2 dB depending on whether the mobile
MC signal is present. Similarly, Gi , 1 is ( when there is no station is under open loop power control or closed loop
DSSS signal and varies depending on the power setting of power control. Power control for the DSSS signal also eases
the DSSS signal relative to the MC signal when a DSSS 55 the spectrum mask requirement for the DSSS signal because
signal is present. G 2 is used to control the total transmission the DSSS signal level is much lower than that of the MC
power for user i . The received signal can be represented by : signal.
                                                                          With total power offset of C , + C2 subtracted from an
                                                                       initial transmission power of the DSSS signal , the spreading
                                                              ( 2) 60 factor of the DSSS signal needs to be set high enough ( e.g. ,
       r ( t) = Esi(t) + N + 1
            i= 1                                                       512 (27 dB ) or higher) so that the DSSS signal can be
                                                                       detected in normal conditions . This requires a sufficient
                                                                       number of bits of the A / D converter at the base station , for
where M is the total number of mobile station actively example, 12 bits .
communicating with the current base station , N is the 65 In one embodiment, the D/A converter at the mobile
Gaussian noise, and I is the total interference from all the station uses 12 bits , among which 8 bits are targeted for the
mobile stations in current and other base stations .                   MC signal ( assuming 3 bits are reserved for MC peak to
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average consideration ). Thus, there are enough bits left for similar construction methods may be used to control the
the DSSS signal even with significant attenuation relative to PAR of DSSS sequences in the frequency domain, thereby
the MC signal.                                                 limiting the interference of DSSS signals to MC signals,
                                                               which are demodulated in the frequency domain . In one
     CANCELING THE INTERFERENCE OF DSSS                      5 embodiment, guard periods are added to the DSSS signal
            SUGNAL TO THE MC SIGNAL                            which overlaps with one MC symbol, as shown by DSSS
                                                                   signal #p 1308 in FIG . 13. The guard periods ensure that a
   In one embodiment, the base station employs interference well - designed DSSS sequence ( with low PAR in frequency
cancellation techniques to cancel the DSSS interference to domain) causes little interference with the MC subcarriers
the MC signal . FIG . 12 illustrates a system for using an 10 even when there is time misalignment in a DSSS signal
interference cancellation technique to cancel an interfering relative to the OFDM symbol period.
DSSS signal in a composite signal to obtain a clearer MC important    Within MC subcarriers, the control subcarriers are more
                                                                             than the data subcarriers and may need to have a
signal. First , a DSSS signal is detected by the DSSS receiver better protection    in the overlay system .
1220 ; then it is subtracted ( decision directed) from the total 15 FIG . 15 illustrates
received signal to obtain a cleaner MC data signal in the MC signal 1502 to protect using        spectrum nulls in the DSSS
receiver 1210 , as illustrated in FIG . 12. In another embodi embodiment, the DSSS sequencecontrol
                                                                                           an  MC           subchannel. In one
ment, multiple step iterative cancellation can be applied to trum nulls at MC control subchannels to toavoid
                                                                                                     is designed    have spec
                                                                                                                        excess
further improve the effectiveness of the interference cancel interference with the uplink MC control signals 1504          , as
lation . The MC receiver basically performs a reverse process 20 illustrated in FIG . 15. One such scheme is to use sub
of the MC transmitter mentioned above . The MC synchro sampling such that the chip rate of the DSSS signal is 1/2 or
nization circuit carries out the synchronization in both time 2/3 of the system sampling rate , which means the DSSS
and frequency for the receiver to function properly. The spectrum will only occupy the center portion with a width of
outputs of the P / S are information bits or symbols.              5.76 MHz or 7.68 MHz out of the 10 MHz available
                   DSSS SIGNAL DESIGN                                25 spectrum 1506 , as shown in FIG . 16. Its interference with
                                                                             the MC sub - carriers over the rest of the spectrum will be
   DSSS sequences are chosen to have good autocorrelation                much lower where the MC subchannels, carrying control
and cross - correlation properties ( i.e. , with high peak to information    16  QAM    ) ,
                                                                                             or using higher modulation subcarriers ( such as
                                                                                            are placed .
sidelobe ratio ). In one embodiment, pulse - shaping is applied 30
to restrict the spectrum mask of DSSS signals and to reduce                          INITIAL RANDOM ACCESS USING THE
impacts on the MC signals in the frequency domain . For                                            OVERLAY SCHEME
example, the transmitter pulse -shaping filter applied to the
DSSS signal can be a root -raised cosine ( RRC ) with roll-off                  FIG . 10 illustrates a DSSS signal used as initial random
factor   a in   the frequency
the chip impulse filter RC . (t) isdomain  . The  impulse   response  of  35 access by the mobile station MS, 1004 , in an overlay system .
                                                                             In the mean time , MS , and MS , are transmitting MC signals
                                                                             to the base station BS ; 1002. In one embodiment of the
                                                                     ( 8)
                                                                             invention , the DSSS signal is used for initial random access
        RC0 ( 1) sin(a?c ( 1 – 1) ) + 40 = cos(x = ( 1 + a)
                                                                             and the MC signal is used by multiple mobile stations to
                                                                          40 transmit high rate data and related control information, as
                             T                                               illustrated in FIG . 10. In this arrangement the mobile station
                                                                             MS, is transmitting its initial access DSSS signal simulta
                                                                             neously with the MC signals from other mobile stations (in
where To is the chip duration .                                              this case , MS , and MSK ) to the base station BS ;.
   FIG . 13 illustrates a DSSS signal and a MC signal fully 45 In the initial random access of a multi - carrier multiple
overlaid or partially overlaid with an MC symbol or slot access system , a mobile station cannot transmit directly onto
boundary in the time domain . The DSSS and the MC signals the control subchannel because its transmission time and
may be aligned at the symbol (or slot) boundary when they power have not been aligned with other mobile stations .
are synchronized , or partially overlapped in the time domain When this mobile station powers up or wakes up from a
when they are not synchronized, as shown in FIG . 13 , where 50 sleep mode , it first listens to a base station broadcasting
a DSSS signal #m 1302 fully overlaps with a MC symbol (or                channel and finds an available random access DSSS chan
slot) 1304 in time domain , while a DSSS signal #n 1306                  nel . It then sends an initial random access signal over the
overlaps with the MC symbol (or slot) only partially.                    DSSS channel with a certain signature code or sequence that
   FIG . 14 illustrates a DSSS signal with a high Peak to is designated to the corresponding base station and is
Average Ratio in the frequency domain causing strong 55 broadcasted to all the mobile stations by each base station .
interference to certain MC subcarriers. The sequence used to The initial access DSSS signal arrives at the base station
spread the DSSS signal has to be designed to avoid cases together with MC signals from other mobile stations , each
where the DSSS signal may have a high Peak to Average carrying data and control information . The initial power
ratio (PAR ) in the frequency domain and its spikes may level of the DSSS signal is based on the open power loop
cause severe interference with some MC subcarriers, as 60 control settings. A sufficient guard period is reserved in the
illustrated in FIG . 14. In one embodiment, the DSSS DSSS signal to account for initial time alignment uncer
sequence is designed so that, in partial or in full, it has low tainty, as shown in FIG. 5 .
PAR in the frequency domain using signal processing tech            If the base station successfully detects the DSSS signal , it
niques, such as a PAR reduction algorithm . Either binary or sends the acknowledgement (ACK) carrying information
non binary sequences can be used .                             65 such as a signature or other unique mobile station identifier
   In another embodiment, Golay complementary and power and time adjustments of the mobile on the
sequences, Reed - Muller codes , or the codes designed with              downlink control channel in the next available timeslot . The
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mobile station whose transmission signature matches that of and power from the probing DSSS signal. In yet another
the acknowledgement then moves to the designated uplink embodiment, the channel profile information is used by the
MC control channel using the assigned time and power base station to determine the proper modulation /coding and
values and further completes the message transmission .         pilot pattern . In yet another embodiment, the channel profile
    If no feedback is received at the mobile station after a 5 information is used for advanced antenna techniques such as
pre -defined number of slots , it assumes that the access slot beamforming. In one embodiment, channel probing with the
was not detected by the base station , and will ramp up the DSSS signaling is performed without close loop power
transmission power of the DSSS signal by one step and control or time synchronization .
re - transmit it , until it reaches the maximum allowable trans
mit signal power or the maximum retry times . In one 10                 SHORT MESSAGE USING DSSS IN THE
embodiment, the power ramping step of the mobile station                            OVERLAY SYSTEM
is set to be 1 dB or 2 dB which is configured by the base
station on the downlink broadcasting channel. The maxi            In one embodiment of the invention , the DSSS signal is
mum allowable transmit signal power and the retry times are used     to carry short messages . In this case , the mobile station
also controlled by the base station depending on the uplink 15 is already
modulation /coding scheme and available access channels . station , andsynchronized
                                                                             its
                                                                                         in time and frequency with the base
                                                                                 transmission  of a MC signal is also under
During the initial random access , the DSSS signal can also closed - loop power control with      the base station . As shown
be used for channel probing and short messaging .
                                                                  in FIG . 17 , the mobile station MS, is transmitting its DSSS
      CHANNEL PROBING USING DSSS IN THE                       20 signal carrying a short message simultaneously with its own
                   OVERLAY SYSTEM                                  MC signal. Other mobile stations (in this case , MS , and
                                                                   MSK ) are transmitting either the MC signal or DSSS signal
   In one embodiment of the invention , the DSSS signal is to the base station BS ;. In this case , the short message carried
used to assist estimation of channel characteristics. In this by the DSSS signal has a much lower data rate compared
case , the mobile station is already synchronized in time and 25 with that of the MC signal . In another embodiment, short
frequency with the base station , and its transmission of the messaging using the DSSS signaling is performed without
MC signal is under closed- loop power control with the base close loop power control or time synchronization.
station .                                                             The above detailed description of the embodiments of the
   FIG . 17 illustrates examples of communications between invention is not intended to be exhaustive or to limit the
a base station 1702 and multiple mobile stations 1704 30 invention to the precise form disclosed above or to the
transmitting both DSSS and MC signals. DSSS signal is particular field of usage mentioned in this disclosure . While
used for channel probing or to carry short messages . In this specific embodiments of, and examples for the invention are
case , MS, 1704 is transmitting both an MC signal and a described above for illustrative purposes, various equivalent
DSSS signal to the base station BS ; 1702. It is also under modifications are possible within the scope of the invention,
closed loop power control with the base station BS , 1702. In 35 as those skilled in the relevant art will recognize. Also , the
FIG . 17 , the mobile station MS; 1704 is transmitting its teachings of the invention provided herein can be applied to
DSSS signal simultaneously with its own MC signal. Other other systems, not necessarily the system described above .
mobile stations in this case , MS , 1704 and MSK 1704 ) are The elements and acts of the various embodiments described
transmitting either MC or DSSS signals to the base station above can be combined to provide further embodiments .
BS , 1702 .                                                     40   All of the above patents and applications and other
   FIG . 18 illustrates a typical channel response in the time references, including any that may be listed in accompany
domain 1802 and the frequency domain 1804. By estimating ing filing papers, are incorporated herein by reference .
the peaks of a channel response in the time domain 1802 , the Aspects of the invention can be modified , if necessary, to
channel profile in the frequency domain 1804 can be employ the systems , functions, and concepts of the various
obtained . A typical channel response in the time domain and 45 references described above to provide yet further embodi
frequency domain for a broadband wireless system is shown ments of the invention .
in FIG . 18. Using a matched filter in the DSSS receiver at the      Changes can be made to the invention in light of the above
base station , the peaks of a channel response in time can be “ Detailed Description . ” While the above description details
detected .                                                         certain embodiments of the invention and describes the best
   When closed loop power control is used , the initial power 50 mode contemplated , no matter how detailed the above
settings will be much more accurate than by using open loop appears in text, the invention can be practiced in many ways .
power control alone . Thus, the margin reserved for power Therefore, implementation details may vary considerably
control inaccuracy can be reduced to a much smaller value . while still being encompassed by the invention disclosed
Furthermore, a bigger spreading factor can be used since no herein . As noted above , particular terminology used when
data information needs to be conveyed in the DSSS signal . 55 describing certain features or aspects of the invention should
This leaves a dynamic range large enough for detecting not be taken to imply that the terminology is being redefined
multi-path peaks from the output of the match filter or herein to be restricted to any specific characteristics, fea
correlator, thereby generating a better channel profile . When tures, or aspects of the invention with which that terminol
and how often a mobile station should send the DSSS signal ogy is associated .
for channel probing is configurable by the network or the 60 In general, the terms used in the following claims should
mobile station .                                                   not be construed to limit the invention to the specific
   In one embodiment, the base station dictates the mobile embodiments disclosed in the specification, unless the above
station to transmit the channel probing DSSS when it needs Detailed Description section explicitly defines such terms.
an update of the mobile station's channel characteristics. In Accordingly, the actual scope of the invention encompasses
another embodiment, the base station polls the mobile 65 not only the disclosed embodiments, but also all equivalent
station during its silent period and gets an update of the ways of practicing or implementing the invention under the
mobile station's information such as transmission timing claims .
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                                                    US 10,833,908 B2
                             11                                                                  12
   While certain aspects of the invention are presented below         11. A method performed by a mobile station , the method
in certain claim forms, the inventors contemplate the various comprising:
aspects of the invention in any number of claim forms.                transmitting, to a base station, a first uplink signal within
Accordingly, the inventors reserve the right to add additional           a frequency band , wherein the first uplink signal is an
claims after filing the application to pursue such additional 5          orthogonal frequency division multiplexing ( OFDM )
claim forms for other aspects of the invention .                         signal and utilizes a frame format comprising a plural
   What is claimed is :                                                  ity of timeslots , each timeslot comprising a plurality of
   1. A mobile station comprising:                                       OFDM symbols;
   a transmitter configured to :                                      transmitting, to the base station , an random access signal
   transmit, to a base station , a first uplink signal within a 10       followed by a guard period in only a portion of the
      frequency band, wherein the first uplink signal is an              frequency band , wherein the random access signal
      orthogonal frequency division multiplexing ( OFDM)                 includes a sequence associated with the base station ,
      signal and utilizes a frame format comprising a plural             wherein a time duration of a combination of the random
      ity of timeslots , each timeslot comprising a plurality of         access signal and the guard period is greater than a time
      OFDM symbols;                                              15      duration of at least one of the plurality of OFDM
   transmit, to the base station , a random access signal                symbols ; and
      followed by a guard period in only a portion of the             receiving , from the base station , a response message .
      frequency band, wherein the random access signal                12. The method claim 11 , further comprising :
      includes a sequence associated with the base station ,          determining if the response message identifies the
      wherein a time duration of a combination of the random 20          sequence associated with the base station in the random
      access signal and the guard period is greater than a time          access signal; and
      duration of at least one of the plurality of OFDM               on a condition that the response message identifies the
      symbols ; and                                                      sequence associated with the base station in the random
   a receiver configured to receive , from the base station , a          access signal, transmitting a second uplink signal.
      response message .                                         25   13. The method of claim 12 , wherein the response mes
   2. The mobile station of claim 1 , wherein :                     sage includes power adjustment information and wherein the
   the receiver is configured to determine if the response second uplink signal is transmitted according to the power
      message identifies the sequence associated with the adjustment information .
      base station in the random access signal; and                   14. The method of claim 11 , wherein the portion of the
   on a condition that the response message identifies the 30 frequency band used for transmission of the random access
      sequence associated with the base station in the random signal does not include control channels .
      access signal, the transmitter is configured to transmit        15. The method of claim 11 , wherein the response mes
      a second uplink signal.                                       sage includes a mobile station identifier assigned to the
  3. The mobile station of claim 2 , wherein the response            mobile station .
message includes power adjustment information and 35 16. The method of claim 11 , wherein the time duration of
wherein the transmitter is configured to transmit the second the combination of the random access signal and the guard
uplink signal according to the power adjustment informa period is greater than a time duration of at least two of the
tion.                                                        plurality of OFDM symbols.
   4. The mobile station of claim 1 , wherein the portion of        17. The method of claim 11 , wherein the frequency band
the frequency band used for transmission of the random 40 includes an outer portion and a center portion , wherein the
access signal does not include control channels.                 portion of the frequency band for the random access signal
   5. The mobile station of claim 1 , wherein the response is in the center portion and uplink control signals are sent in
message includes a mobile station identifier assigned to the the outer portion.
mobile station .                                                    18. The method of claim 11 , wherein the random access
   6. The mobile station of claim 1 , wherein the time 45 signal is a spread spectrum signal.
duration of the combination of the random access signal and         19. The method of claim 11 , further comprising:
the guard period is greater than a time duration of at least        receiving broadcast information from the base station, the
two of the plurality of OFDM symbols.                                  broadcast information indicating at least one sequence
   7. The mobile station of claim 1 , wherein the frequency            associated with the base station for use in producing the
band includes an outer portion and a center portion, wherein 50        random access signal.
the portion of the frequency band for the random access             20. The method of claim 11 , wherein the first uplink signal
signal is in the center portion and uplink control signals are is provided by an OFDM transmitter signal processing
sent in the outer portion .                                      circuit comprising : a serial to parallel converter, an inverse
   8. The mobile station of claim 1 , wherein the random Fourier transform , and a cyclic prefix addition circuit .
access signal is a spread spectrum signal .                   55    21. A mobile station comprising:
   9. The mobile station of claim 1 , wherein :                     a first type of transmitter signal processing circuit con
   the receiver is further configured to receive broadcast             figured to :
      information from the base station , the broadcast infor       generate a first uplink signal, wherein the first uplink
      mation indicating at least one sequence associated with          signal is an orthogonal frequency division multiplexing
      the base station for use in producing the random access 60       (OFDM) signal and utilizes a frame format comprising
      signal.                                                          a plurality of timeslots , each timeslot comprising a
  10. The mobile station of claim 1 , wherein the transmitter             plurality of OFDM symbols;
includes an OFDM transmitter signal processing circuit                 modulate the first uplink signal onto a first set of OFDM
comprising : a serial to parallel converter, an inverse Fourier          subcarriers;
transform , and a cyclic prefix addition circuit; and           65     a second type of transmitter signal processing circuit
   the OFDM transmitter signal processing circuit outputs                configured to generate an random access signal fol
     the first uplink signal.                                             lowed by a guard period, wherein the random access
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                                                    US 10,833,908 B2
                             13                                                                  14
     signal includes a sequence associated with a base             wherein the first type of transmitter signal processing circuit
     station, wherein a time duration of a combination of the      is configured to transmit the second uplink signal according
    random access signal and the guard period is greater to the power adjustment information .
    than a time duration of at least one of the plurality of 5 the24.frequency
                                                                       The mobile station of claim 21 , wherein the portion of
                                                                                band used for transmission of the random
    OFDM symbols;
  a circuit configured to provide at least the first uplink access      signal does not include control channels.
                                                                  25. The mobile station of claim 21 , wherein the response
     signal or the random access signal to output a digital message includes a mobile station identifier assigned to the
     signal;
  a digital- to -analog ( D / A ) conversion circuit configured to 10 mobile  station .
                                                                        26. The mobile station of claim 21 , wherein the time
     convert the digital signal to an analog signal ;                 duration of the combination of the random access signal and
  wherein the mobile station is configured to transmit, to the the
     base station , the analog signal in a frequency band , two guard            period is greater than a time duration of at least
                                                                          of the plurality of OFDM symbols.
     wherein the random access signal occupies in a fre                 27. The mobile station of claim 21 , wherein the frequency
     quency domain only a portion of the frequency band ;
  wherein the mobile station is further configured to 15 band  includesofantheouter
                                                         the portion                portion and
                                                                                frequency   banda center
                                                                                                  for theportion
                                                                                                          random, wherein
                                                                                                                    access
     receive , from the base station , a second analog signal ;    signal is in the center portion and uplink control signals are
     and
  wherein the mobile station further comprises:                    sent in the outer portion .
     an analog - to -digital ( A / D ) conversion circuit config 28. The mobile station of claim 21 , wherein the random
       ured to convert the second analog signal to a second 20 access  signal is a spread spectrum signal.
                                                                 29. The mobile station of claim 21 , wherein :
       digital signal ; and                                      the receiver circuit is further configured to receive broad
     a receiver circuit configured to receive , based on the        cast information from the base station , the broadcast
        second digital signal, a response message .                 information indicating at least one sequence associated
  22. The mobile station of claim 21 , wherein :                    with the base station for use in producing the random
  the receiver circuit is configured to determine if the 25         access signal.
    response message identifies the sequence associated          30.  The mobile station of claim 21 , wherein :
     with the base station in the random access signal; and      the first type of transmitter signal processing circuit is an
  on a condition that the response message identifies the           OFDM transmitter signal processing circuit compris
     sequence associated with the base station in the random 30     ing : a serial to parallel converter, an inverse Fourier
     access signal, the first type of transmitter signal pro        transform , and a cyclic prefix addition circuit ; and
     cessing circuit is configured to transmit a second uplink   the OFDM transmitter signal processing circuit outputs
     signal.
  23. The mobile station of claim 22 , wherein the response         the first uplink signal.
message includes power adjustment information and
